Case 1:19-cr-00286-AMD Document 332 Filed 09/09/22 Page 1 of 1 PageID #: 16307
Criminal Notice of Appeal - Form A


                                             NOTICE OF APPEAL
                                            United States District Court

                                    _______________ District of New
                                    Eastern                          York
                                                                _______________

Caption:
United     States
_____ _____ ________________________ v.


Robert    S. Kelly                                                         Docket No.: 19-cr-286
                                                                                       ___________________________________
__________________________________                                                            Ann M. Donnelly
                                                                                             ___________________________________
                                                                                                       (District Court Judge)

                              Robert S. Kelly
Notice is hereby given that _________________________________________________ appeals to the United States Court of
                                                                     order to turnover funds in the defendants inmate trust account
                                                                 ✔
Appeals for the Second Circuit from the judgment [____], other [____] ____________________________________________________
                                                                                          (specify)
entered in this action on 09/09/2022
                          _________________________.
                                 (date)



This appeal concerns: Conviction only [___] Sentence only [___] Conviction & Sentence [___] Other [___]                       ✔
                                                      ✔
Defendant found guilty by plea [___] trial [___] N/A [___].

Offense occurred after November 1, 1987?            ✔ No [___]
                                               Yes [___]             N/A [___]

                  June 29, 2022
Date of sentence: __________________________ N/A [___]

Bail/Jail Disposition: Committed [___] Not committed [___] N/A [___]  ✔



                                             ✔
Appellant is represented by counsel? Yes [___] No [___] If yes, provide the following information:


Defendant’s Counsel:
                              Jennifer Bonjean and Ashley Cohen
                              _____________________________________________________________

Counsel’s Address:
                              750 Lexington Avenue, 9th Floor
                              _____________________________________________________________

                              New  York, NY 10022
                              _____________________________________________________________

Counsel’s Phone:              718-875-1850
                              _____________________________________________________________


Assistant U.S. Attorney:
                              Lauren  Elbert
                              _____________________________________________________________
                              271-A Cadman Plaza East
AUSA’s Address:               _____________________________________________________________
                               Brooklyn, New York 11201
                              _____________________________________________________________
                               718-254-7577
AUSA’s Phone:                 _____________________________________________________________




                                                        _______________________________________________________
                                                                               Signature
